
PER CURIAM.
T.L., a juvenile, was convicted of the criminal offense of grand theft auto. T.L. appeals a restitution order requiring him to pay the owner of the vehicle for damages the vehicle sustained during the theft.
A juvenile is entitled to be present at a restitution hearing unless he waives that right. See J.B. v. State, 646 So.2d 808, 808 (Fla. 1st DCA 1994); Fla. R. Juv. P. 8.100 (2005). In J.B., this Court reversed the trial court’s restitution order because the juvenile was not present during the restitution hearing and there was no competent, substantial evidence that the juvenile effectively waived his right to appear at the hearing. 646 So.2d at 808. J.B. controls in this case. Because T.L. was not present at the hearing and there is no competent, substantial evidence on the record indicating that he waived his right to be present, we reverse the restitution order. As such, we conclude that it is unnecessary to reach T.L.’s other arguments.
We reverse the restitution order and remand with directions that the trial court conduct a new restitution hearing.
REVERSED and REMANDED, with directions.
DAVIS, LEWIS and ROBERTS, JJ., concur.
